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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                *
       “DEEPWATER HORIZON” IN THE              *   MDL NO. 2179
       GULF OF MEXICO, on APRIL 20, 2010 *
                                               *   SECTION J
                                               *
    Relates to: No.10-8888 Doc. Ref. No. 63576 *   JUDGE BARBIER
                                               *
 Vessel of Opportunity (VoO) Contract Disputes *   MAG. JUDGE SHUSHAN
                                               *
*******************************************


    PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR PARTIAL
SUMMARY JUDGMENT ON THE ISSUE OF LIABILITY FOR BREACH OF MASTER
   VESSEL CHARTER AGREEMENT, VESSEL OF OPPORTUNITY PROGRAM
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INTRODUCTION

       As the responsible party for the MC252 drilling project and the massive oil spill that

resulted, BP was legally required to identify and retain a fleet of spill response vessels with

sufficient capacity to contain the “worst case discharge” of oil flowing into the Gulf. To meet

this obligation, and to mitigate the spill's economic impact, BP solicited commercial fishermen

and other vessel owners to train their crews and dedicate their vessels to the MC252 oil spill

response effort. Almost 6000 local fishermen and marine workers enlisted in the so-called

“Vessels of Opportunity” (VOO) program, choosing to undertake difficult and often dangerous

spill response work rather than sit idle and watch an outmatched response fail. Of that number,

at least 3500 actually deployed.

       In order to participate in the VOO program, BP required fishermen to sign a “Master

Vessel Charter Agreement” (sometimes called the “MVCA” or “the BP Charter”), which was

drafted exclusively by BP. This time charter agreement exclusively governed participation in the

VOO program and the financial relationship between participating vessel owners and BP. The

BP Charter required vessel owners to deliver trained crews exclusively dedicated to BP’s service,

24 hours a day. This exclusive dedication ended only when the “Charter Term” was ended by

“redelivery” into the service of the Owner. Redelivery was accomplished when three conditions

were met: (1) the owner received formal “off-hire dispatch notification,” and (2) the vessel

returned to port (3) after final decontamination. The beginning and end of dedicated service to

BP’s spill response mission framed the vessel’s “Charter Term” under BP’s Charter Agreement.

In return for the dedicated, exclusive service of the vessel, BP obliged itself to pay vessel “Hire”

for each day during the entirety of the “Charter Term.”


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       BP failed to pay vessel owners like movant Hoi Nguyen hire for each day within the full

“Charter Term” as provided in the BP Charter Agreement. Instead, BP paid only for days when

the vessel was sent to perform spill-related work on the water. By deviating from the plain

terms of the charter that it drafted, BP shifted the cost of maintaining vessels and crew on

standby, dedicated to BP’s exclusive use, to vessel owners like Hoi Nguyen. As a practical

matter, BP found a way to maintain its legally required operational readiness and response

capacity without paying for it.

       In this Motion for Partial Summary Judgment on Liability, the Plaintiffs’ Steering

Committee requests that the Court interpret and apply the BP Master Vessel Charter

Agreement’s commencement, suspension, and termination provisions, and pronounce BP liable

for breach of its obligation to fully pay daily hire to movant Hoi Nguyen.

II. BACKGROUND OF THE VOO PROGRAM

       A. BP Was Required by Law to Maintain an Adequate Fleet of Response Vessels

       The Clean Water Act and Minerals Management Service regulations require a pre-

approved offshore Oil Spill Response Plan ("OSRP") as a condition to gaining a federal permit

to drill an exploratory well on the Outer Continental Shelf. 33 U.S.C. §1321(j)(5)(A); 30 C.F.R.

§ 250.219. Approved OSRPs “identify and ensure by contract or other means, approved by the

President, the availability of private personnel and equipment necessary to remove to the

maximum extent practicable a worst case discharge… and to mitigate or prevent a substantial

threat of such a discharge.” 33 U.S.C. § 1321(j)(5)(D)(iii); 30 C.F.R. § 254 et seq. Furthermore,

the OSRP must describe the “training, equipment testing, periodic unannounced drills, and

response actions… to be carried out under the plan.” 33 U.S.C. § 1321(j)(5)(D)(iv).




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       In the event of an actual spill, “[A]n owner or operator… shall act in accordance with the

National Contingency Plan and the applicable response plan required under subsection (j) of this

section…” 33 U.S.C. § 1321(c)(3)(B) (emphasis supplied). “The [facility/vessel] response plan

must provide for response to an oil spill from the facility. You must immediately carry out the

provisions of the plan whenever there is a release of oil from the facility.” 30 C.F.R. § 254.5.

       In BP’s applicable OSRP, BP estimated a “worst case discharge” of 250,000 barrels of oil

per day associated with the MC252 well. [Exhibit 1, App. H, p. 30, BP Regional Oil Spill

Response Plan (Revised, June 30, 2009)]. BP calculated the companies BP hired (called “Oil

Spill Response Organizations” or “OSROs”) could recover 491,721 barrels of spilled oil per day.

Id. at 32. “The OSROs can provide personnel, equipment and materials in sufficient quantities

and recovery capacity to respond effectively to oil spills from the facilities and leases covered by

this plan, including the worst case discharge scenarios.” [Exhibit 1, Sec. 14, p. 1.]

       The key to oil response is speed and capacity. BP’s OSRP stated: “BP puts emphasis on

a rapid response to releases of all sizes… Pre-planned response objectives and strategies have

been developed… to ensure an effective and timely response to an oil spill of any magnitude.”

[Exhibit 1, Sec. 14, p. 1.] To meet its “rapid response” obligation, BP contracted for National

Response Corporation’s “Vessel of Opportunity Skimming Systems” (VOSS), “to ensure

availability of personnel, services and equipment on a 24 hour per day basis.” Id. With “vessels

located throughout the Gulf Coast,” BP told the MMS that the VOSS was in “road-ready

condition and available to be transported on short notice to the nearest predetermined staging

areas(s). The ‘road-ready condition’ ensures the shortest possible response times for transporting

equipment to the staging areas.” Id. As BP’s spill response plan makes clear, the response time




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for the deployment of VOSS in the event of an actual oil spill was measured in hours, not days.

[Id., Sec. 14, p.2 and App. H.]

          As set out above, it is clear that a road-ready supply of trained, on-call response vessels

was the centerpiece of BP’s OSRP and a legally required element of BP’s response to an oil spill.

It is equally clear that BP’s assessment of its capacity to respond to a spill was grossly

overestimated.

          B. A Massive Response Capability was Required by the Massive Nature of the Spill

          Soon after the Deepwater Horizon exploded and sank, BP cascaded offshore response

vessels to the area in response to the spill. However, as the magnitude of the disaster continued

to grow, and BP and its paid OSROs were clearly unable to contain and remove the escaping oil

in sufficient quantities, it became clear that vessels beyond what the private OSRO contractors

could provide would be required.

          To meet demand for response capacity as required by law and as assured in BP’s OSRP,

BP borrowed from the Exxon Valdez response and established a community-based VOO fleet of

offshore, nearshore and inshore responders. These vessels performed “critical functions such as

boom deployment and tending, skimming oil, gathering tar balls, assisting in the capture of oiled

wildlife, delivering cargo and providing surveillance.” [Exhibit 2, BP’s Vessels of Opportunity,

Guardians of the Gulf (August 17, 2010).] The fleet provided BP “a proven capability to rapidly

deploy a vetted and trained fleet of near shore responders with a deep knowledge and passion for

protecting shorelines and communities.” [Exhibit 3 at 38-39, BP Deepwater Horizon

Containment and Response: Harnessing Capabilities and Lessons Learned (September 1,

2010).]




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       As early as May 2, BP stated it hired 500 commercial fishing vessels to deploy boom,

monitor and skim oil in response to the spill. [Exhibit 4, BP Fact Sheet (May 2, 2010)]. By July

7, over 5000 vessels were under contract with BP, “in our pool available to put onto the water,”

with an average of 3000 vessels actively deployed. [Exhibit 5, BP Fact Sheet (July 7, 2010).]

On September 1, 2010, BP touted the “5,800 vessels employed in the Vessels of Opportunity

Program” as a “fleet of committed shoreline and community responders fully integrated into the

overall effort.” BP continued: “The response effort has fully embedded and greatly benefited

from ... [t]he establishment of a 5,800-vessel VOO fleet...” [Exhibit 3 at 38-39].

       BP entered into time charter agreements with vessel owners because it needed trained

emergency response capacity to comply with its legal obligations under federal law and its

required OSRP. Having capacity ready to deploy immediately was a specific commitment of

BP’s OSRP and a specific legal requirement of BP drilling on federal leases in the Gulf of

Mexico. BP likely needed response capacity in excess of that which might be actually deployed

at any given time, since the volume and location of observed oil was unknown and the spill could

have actually worsened to the “worst case discharge” scenario.

       The profits from successful drilling on federal leases in the Gulf would obviously belong

to BP or its partners alone. Having the emergency response capability set out in its OSRP was a

business cost that BP was required to pay in order to have this opportunity for private profit.

BP’s failure to pay for dedicated response capability under BP’s Charter Agreement is a de facto

shifting of response costs onto those whose VOO vessels served as “assigned equipment” that

BP “fully embedded and greatly benefited from,” vessels BP called “the backbone of the nation’s

ocean-going response to the Deepwater Horizon oil spill.” [Exhibits 2 and 3.]




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       As set out in the Statement of Undisputed Material Facts and below, BP did not pay

vessel owner Hoi Nguyen the agreed charter hire rate for all days within the entire Charter Term.

Specifically, BP did not pay for time spent at the dock awaiting further instructions, and did not

pay for time spent awaiting final decontamination after Mr. Nguyen received off-hire dispatch

notification. BP’s failure to pay constitutes a breach of the Master Vessel Charter Agreement.

III.   STANDARD APPLICABLE TO A MOTION FOR SUMMARY JUDGMENT

       The basic legal standards applicable to summary judgment are well-established and were

recently summarized by this Court as follows:

       Summary judgment is appropriate where the pleadings, depositions, answers to
       interrogatories, and admissions on file, together with the affidavits, if any, show there is
       no genuine issue as to any material fact and that the moving party is entitled to judgment
       as a matter of law. Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir.1994) (citing
       Fed. R. Civ. Proc. 56(c)). The moving party bears the initial burden of demonstrating to
       the court that there is an absence of genuine factual issues. Id. Once the moving party
       meets that burden, the non-moving party must go beyond the pleadings and designate
       facts showing that there is a genuine issue of material fact in dispute. Id. “A factual
       dispute is ‘genuine’ where a reasonable jury could return a verdict for the non-moving
       party. If the record, taken as a whole, could not lead a rational trier of fact to find for the
       non-moving party, then there is no genuine issue for trial and summary judgment is
       proper.” Weber v. Roadway Express, Inc., 199 F.3d 270, 272 (5th Cir.2000) (citations
       omitted). The non-moving party's burden “is not satisfied with ‘some metaphysical doubt
       as to the material facts,’ by ‘conclusory allegations,’ by ‘unsubstantiated assertions,’ or
       by only a ‘scintilla’ of evidence. [The courts] resolve factual controversies in favor of the
       nonmoving party, but only when there is an actual controversy, that is, when both parties
       have submitted evidence of contradictory facts. [The courts] do not, however, in the
       absence of any proof, assume that the nonmoving party could or would prove the
       necessary facts.” Little, 37 F.3d at 1075 (emphasis in original) (citations omitted).

Dimiceli v. Univ. Healthcare Sys., 2011 WL 1671332, at *1 (E.D. La. May 3, 2011).

        The real issue in this motion is simply the application of the terms of the Master Vessel

Charter Agreement. The construction of a contract presents a question of law for the Court.

Weathersby v. Conoco Oil Co., 752 F.2d 953, 956 (5th Cir. 1984) (“Interpretation of the terms of

a contract is a matter of law.”). While BP will almost certainly argue that it needs discovery



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about various factual issues in order to respond to this motion, the material facts necessary to

interpret the Master Vessel Charter Agreement and determine the commencement and

termination of BP’s obligation to pay charter hire are straightforward and cannot be disputed.

Discovery will not produce any facts that will allow BP to withstand this motion for partial

summary judgment on liability. See, e.g., Raby v. Livingston, 600 F.3d 552, 561 (5th Cir. 2010)

(“If it appears that further discovery will not provide evidence creating a genuine issue of

material fact, the district court may grant summary judgment.”).

IV.     LAW GOVERNING THE MASTER VESSEL CHARTER AGREEMENTS

        The entire Master Vessel Charter Agreement drafted by BP and presented to Hoi Nguyen

is included as Attachment A to the Declaration of Hoi Nguyen. [Exhibit 6.] 1 Pursuant to the

choice of law provision in Article 19, the Master Vessel Charter Agreement “shall in all respects

be governed and enforced in accordance with the general maritime laws of the United States. In

the event, but only in the event, the maritime laws of the United States do not apply, the laws of

the State of Louisiana shall govern.” This choice of law provision comports with the rule that

“[c]onstruction of maritime contracts is governed by federal maritime law.” Randall v. Chevron

U.S.A., Inc., 13 F.3d 888, 894 (5th Cir.1994). “[T]o the extent that it is not inconsistent with

admiralty principles, state contract law may be applicable to maritime contracts.” Ham Marine,

Inc. v. Dresser Indus., Inc., 72 F.3d 454, 459 (5th Cir.1995). See also Marine Overseas Servs.,

Inc. v. Crossocean Shipping Co., Inc., 791 F.2d 1227, 1234 (5th Cir. 1986).




1
  The BP Charter which was provided to Hoi Nguyen was a standard form prepared by BP. The signed copy of the
Master Vessel Charter Agreement which BP provided to Hoi Nguyen, as well as those copies which BP produced in
discovery, had blank pages in place of pages 2, 4, 6, and 8. This appears to have been some sort of reproduction
error. There is no issue that the missing pages contained the terms found in the standard form of the agreement. The
exhibit attached to Hoi Nguyen’s declaration therefore has the missing pages replaced with the corresponding pages
from BP’s form charter agreement.


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          A maritime contract should be read as a whole and its words given their plain meaning

unless the provision is ambiguous. Weathersby v. Conoco Oil Co., 752 F.2d 953, 955 (5th Cir.

1984). In addition, each provision of a contract must be read in light of others so as to give each

the meaning reflected by the contract as a whole. Southwestern Eng'g Co. v. Cajun Elec. Power

Co-op., Inc., 915 F.2d 972 (5th Cir.1990). “[W]hen a contract provision is subject to opposing,

yet reasonable interpretation, an interpretation is preferred which operates more strongly against

the party from whom the words proceeded.” Zapata Marine Serv. v. O/Y Finnlines, Ltd., 571

F.2d 208, 209 (5th Cir.1978) (per curiam).

          The BP Master Vessel Charter contains what is commonly referred to as an integration

clause:

          ARTICLE 24. ENTIRE AGREEMENT; SUCCESSORS

          A.      This CHARTER includes any and all Exhibits referenced in this
          CHARTER and constitutes the entire agreement between the Parties with respect
          to this CHARTER. This CHARTER cancels and supersedes all prior negotiations,
          representations or agreements, both written and oral, including any proposals
          submitted by VESSEL OWNER. The Parties have not been induced by any
          representation, statements or agreements other than those expressed in this
          CHARTER. No changes, alterations, or modifications to this CHARTER will be
          effective unless made in writing and signed by both Parties.

          An integration clause “is a ‘provision in a contract to the effect that the written terms may

not be varied by prior or oral agreements because all such agreements have been merged into the

written document.’” Condrey v. Sun Trust Bank of Ga., 429 F.3d 556, 564 (5th Cir. 2005)

(quoting Black’s Law Dictionary 683 (6th ed. 1983)). In other words, a contract including such

a clause represents the entire agreement of the parties.

V.        THE TERMS OF THE MASTER VESSEL CHARTER AGREEMENT

          A.     The Master Vessel Charter Agreement Is A Time Charter


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       As set out below, the Master Vessel Charter Agreement BP provided to Hoi Nguyen has

specific provisions defining (1) the commencement of the Charter Term, (2) the termination of

the Charter Term, and (3) the daily rate owed for each day during the Charter Term to be

employed in an oil spill response. Given that these terms constitute the law between the parties,

and the indisputable underlying facts found in Capt. Nguyen’s declaration, determining the

amount owed is essentially a mathematical exercise.

         A “charter party” such as the Master Vessel Charter Agreement “is ‘a specialized form

of contract for the hire of an entire ship, specified by name.’ … [A] time charter provides for the

charterer to obtain the vessel for a fixed period of time, and under a voyage charter, the charterer

obtains the vessel for the length of a voyage.” The Rice Company (Suisse), S.A. v. Precious

Flowers Ltd., 523 F.3d 528, 531 (5th Cir. 2008) (citations omitted).

       The Fifth Circuit has succinctly defined the differences between a time charter and a

voyage charter as follows:

       A time charter is a contract whereby a vessel is let to a charterer for a stipulated
       period, in exchange for a remuneration known as hire - a monthly rate per ton
       deadweight or a daily rate. The charterer is free to employ the vessel as it thinks
       fit within the terms as agreed, but the ship owner continues to manage his own
       vessel through the master and crew who remain his servants.
                                        *       *       *
        A voyage charter is a contract under which the ship owner agrees to carry an
       agreed quantity of cargo from a specified port or ports to another port or ports for
       a remuneration called freight, which is calculated according to the quantity of
       cargo loaded, or sometimes at a lump sum freight.

Thyssen v. Nobility MV, 421 F.3d 295, 297 nn.1, 2 (5th Cir. 2005).

       The Master Vessel Charter Agreement used in the VOO program is a time charter. The

Charter is for a period of time, called a “Charter Term,” rather than for a particular voyage:

“During each Charter Term, the Vessel shall be employed exclusively for Charterer’s use…” and

the “Vessel Owner shall at all times man the Vessel.” [Exhibit 7, Attachment A, Arts. 2, 6.] The

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Charter provides for payment of “hire” over the course of a Charter Term. [Id. Art. 10 and App.

A.] The Charter allows BP to employ the vessel as it sees fit: “The vessel shall be available at

“Charterer’s disposal for operation twenty four hours per day,” [Id., Art. 2], to “perform all

voyages without delay,” [Id., Art. 3], and the “vessel shall not be used for any other purpose

other than performance of services during the charter term,” [Id., Art. 2].

        The Master Vessel Charter Agreement’s provisions regarding the commencement and

termination of the “Charter Term” are the central issues of law raised by this motion.

        B.       The Master Charter Agreement Provides that the Charter Term Commences
                 When the Vessel is Made Available for BP’s Exclusive Use

        Article 1 provides the following regarding the commencement of the Charter Term:

                 VESSEL OWNER agrees to let and CHARTERER agrees to hire
                 the VESSEL from time to time as may be requested by
                 CHARTERER. VESSEL OWNER shall deliver or otherwise make
                 available the VESSEL to CHARTERER and place the VESSEL at
                 CHARTERER’S disposal at a mutually agreed location. The term
                 of the CHARTER shall commence on the date of the departure of
                 the Vessel from the mutually agreed location of delivery into the
                 service of Charterer, and shall be referred to as the “CHARTER
                 TERM.”

[Exhibit 6, Attachment A, p. 1.]

        “Delivery of the vessel commences the performance of the time charter . . . .”

International Marine Towing, Inc. v. Southern Leasing Partners, LTD, 722 F.2d 126, 131 n.8

(5th Cir. 1983). The “date of the departure of the Vessel . . . into the service of the Charterer” is

the date when the owner “delivers or otherwise makes available” the vessel and places the vessel

at BP’s “disposal.” 2 [Exhibit 6, Attachment A, p. 1.] The Charter Term thus commences on the


2
  The vessel need not physically depart from the dock for the charter term to commence. A vessel and crew on
stand-by, for instance, waiting for exact instructions from Unified Command based on observations of where the oil
is, would nonetheless be in the exclusive service of BP and contractually unable to perform any other function.



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date BP told the Vessel Owner to bring his or her vessel to a specified location at BP’s

instruction or was told by BP to keep the vessel in place to await further instruction.

       The BP Charter provides that when a vessel is instructed to commence training, the

Charter Term has begun. Article 2 of the Master Vessel Charter Agreement requires the

“Vessel” to undergo training “during each Charter Term”: “The VESSEL shall be required to

attend training, participate in training exercises and drill to receive the necessary oil spill cleanup

credentials as appropriate, to develop skills and procedures for oil spill response and

containment.” [Exhibit 6, Attachment A, p. 1.]

       The revision of Article 2 that resulted from the lawsuit of the United Commercial

Fisherman’s Association (E.D. La. 10-CV-1316) makes it even more explicit that training takes

place during the Charter Term. According to BP, Article 2.A. was “revised to make the

CHARTER more favorable to the Vessel Owner” and contains the following additional

language:

                BP, in cooperation with OSHA and the U.S. Coast Guard, has
                developed a training and safety program ("HORIZON Response
                Program" or "HRP") for VESSELS and VESSEL crews engaged
                in oil spill response activities under this CHARTER. The HRP
                was approved by OSHA on May 7, 2010 and received approval
                from the U.S. Coast Guard on May 8, 2010. Per OSHA and U.S.
                Coast Guard directives, the HRP is subject to continuous
                improvement processes. As of May 10, 2010, BP will ensure that
                all VESSEL crews engaged in oil spill response activities (1)
                receive all necessary training for such activities as per the HRP, (2)
                receive all necessary credentials for such activities as per the HRP,
                and (3) receive all necessary protective equipment for such
                activities as per the HRP.

[E.D. La. 10-CV-1316, Rec. Doc. 6.] Revised Article 2 allows no other interpretation but that

the crew members undergoing training are engaged in oil spill response activities during a

Charter Term.



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       “Article 10. HIRE” provides further support that training is intended to occur after

commencement of the Charter Term. Article 10.B. provides: “CHARTERER shall pay Hire for

the VESSEL and the SERVICES to be provided by the VESSEL OWNER for each CHARTER

TERM in accordance with the following provisions.” One such “following provision” is Article

10.B.5, which provides that training “defined and approved in advance by the CHARTERER” is

a vessel service falling within the above-referenced Charter Term. Article 10.B.5 further

provides that during training “[t]he VESSEL shall not be considered under HIRE for insurance

purposes, therefore insurance shall not be provided during these times.” (emphasis supplied.)

This limitation on the scope of the hire is reasonable since the vessel will not be underway when

the crew is in training. However, the express limitation of hire for insurance purposes indicates

that the vessel is on hire for every other purpose. Had BP intended to exempt another purpose—

such as training—it could have stated so explicitly.

       Attendance at BP’s approved training as required by the Master Vessel Charter

Agreement either commenced the Charter Term, or occurred during the Charter Term if it

already commenced. While the crew and vessel were undergoing mandated training or waiting

for further instructions after that training, they were required to give up other employment and

opportunities. Under the terms of the Charter, BP had hired, and the owner had delivered,

exclusive control of the uses of the vessel when the “vessel” underwent training.

       As explained in the next section of this memorandum, while BP paid for the day or days

the vessel and crew actually trained, BP did not make another payment to vessel owners such as

Hoi Nguyen until the vessel physically left the dock to carry out work for BP. BP’s apparent

interpretation is that the Charter Term commences when the vessel physically pulls away from

the dock.



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        BP’s interpretation is directly inconsistent with the Charter provisions requiring training

and exclusivity of use and readiness of vessel and crew while on stand-by. This interpretation

does, however, allow BP to comply with the legal requirement for response capacity mandate,

and benefit from the vessel’s mandated “road-ready” capability, without compensating its “fleet

of committed shoreline and community responders,” despite the provisions of law that call for

response cost compensation. 3 Whatever BP’s intention may have been, the practical effect was

to leave vessel owners out-of-pocket for the cost of maintaining readiness while the vessel

awaited BP's instruction. 4 This approach violated the terms of the Charter. Furthermore, as BP

itself drafted the contract, any ambiguity that may exist must be resolved in favor of Vessel

Owner and against BP.

        Plaintiff Hoi Nguyen requests a ruling setting forth the meaning of commencement of the

Charter Term under the Master Vessel Charter Agreement as a matter of law.

C.      The Charter Term Terminates On Off -Hire Dispatch Notification, Final
        Decontamination and Return to Moorings

        The MVCA contains two provisions, Articles 1 and 10, which clearly and simply address

the termination of the Charter Term.

        First, Article 1.A provides: “CHARTERER may terminate the CHARTER at any time

and the CHARTER TERM will terminate as set out in Paragraph B of this Article 1.” The

termination mechanism for the Charter Term provided in paragraph B states:

        The VESSEL shall be redelivered to VESSEL OWNER at the close of each CHARTER
        TERM to the original point of delivery by CHARTERER, as determined by off-hire
        dispatch notification, unless VESSEL OWNER elects not to return directly to the point of
        dispatch, in which case, the CHARTER TERM shall cease immediately upon such
        election.

3
 See Clean Water Act, Section 311(b)(10), 33 U.S.C. § 1321(b)(10); Oil Pollution Act, 33 U.S.C. § 2702(a).
4
 Many vessel owners made modifications to their vessels to accommodate the response, modifications that further
negated the opportunities of other uses.


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         Article 10.E. contains a more specific provision establishing when the redelivery of the

Vessel to the Vessel Owner to the original point of delivery occurs. As with the commencement

provisions, the physical departure and return of the vessel to its original point of delivery is not

determinative of Charter Term termination. Under this Article, the time of redelivery depends on

whether the vessel participated in a drill or exercise, 5 or, as was the case in the VOO program, in

an oil spill response:

                  The termination of the CHARTER TERM (termination of
                  dispatch) is determined by the time the VESSEL is secure in its
                  moorings at the original point of delivery during drills and
                  exercises, and secure at its mooring after final decontamination
                  after an oil spill response (which process shall be promptly
                  undertaken without delay).


[Exhibit 6, Attachment 1, Art. 10.E (emphasis supplied)].

         Thus, the termination mechanism of the Charter Term provided by the Master Vessel

Charter Agreement is by “off-hire dispatch notification” (Article 1), and the close of the Charter

Term is the redelivery of the vessel following this notification (Article 10). In the case of an

actual oil spill response, the Charter Term does not end until the vessel has received “final

decontamination” and is returned to its moorings. [Exhibit 7, Sector Mobile AL Deep Draft

Vessel Evaluation and Cleaning Plan at p. 9; Exhibit 8, GCIMT's Mississippi Canyon 252

Vessel Evaluation and Decontamination Plan (May 6, 2010) at p. 18 (both exhibits providing:

“For this incident, a vessel owner’s representative must obtain the State and Coast Guard

Verifying Officer’s final verification of decontamination.”)]


5
 Companies that undertake oil and gas exploration and production are required to participate in oil spill response
drills and exercises under the terms of their respective OSRPs, MMS regulations, the Clean Water Act and the
National Contingency Plan. See, 33 U.S.C. § 1321(j)(5)(D); 30 C.F.R. § 400 et seq.



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       Thus, for VOO vessels, the termination of the Charter Term occurs when three events

have taken place: (1) the appropriate off-hire dispatch notification is given, (2) the vessel

undergoes a final decontamination, and (3) the Vessel is secure at its moorings at the original

point of delivery. The order in which these events occur is not legally significant, but under

Articles 1 and 10 all three must occur before the Charter Term is terminated.

       Article 18 of the MVCA specifies the contact information for each party, and provides

that “[a]ll notices and communications from VESSEL OWNER to CHARTERER and from

CHARTERER to VESSEL OWNER shall be addressed as follows...” As more fully discussed

below, BP provided off-hire dispatch notification to VOO participants, including movant Hoi

Nguyen, by letters delivered to the address stated in the Charter Agreement:

       Please be advised that pursuant to the terms of the Master Vessel Charter
       Agreement (“MVCA”) BP is providing this “Off-Hire Dispatch
       Notification” which terminates the MVCA immediately as of the date
       noted below.

       If you have not had your vessel properly decontaminated and an off-hire
       survey performed please immediately contact your local Vessel of
       Opportunity coordinator to schedule your off-hire survey and
       decontamination as soon as possible.

[Exhibit 6, Attachment B (excerpted)].

       This letter directly tracks the language of the BP Charter. It specifies that “Charterer: BP

Exploration & Production Inc.” is providing “off hire dispatch notification” under the terms of

the MVCA. The addresses of Charterer, BP, and Vessel Owner, Hoi Nguyen, are those provided

in the Notices provision of Article 18 of the BP Charter.

       BP intentionally chose this formal "Off Hire Dispatch Notification" process as a

prerequisite to ending the Charter Term. Proof of BP’s intent is found by comparing the BP

termination provision to the provision regarding a vessel owner’s right to terminate the Charter



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Term. Article 10(E) provides: “If termination is by VESSEL OWNER, termination of dispatch

shall be as mutually agreed by Charterer’s Group Supervisor and VESSEL OWNER.” BP could

have given itself the same informality, BP’s Group Supervisors the same binding authority, to

allow informal or oral dockside Charter Term terminations. For reasons unknown, BP did not.

BP is bound to the notification process it elected and actually followed.

          Again, while the order in which the three events necessary for the Charter Term to end is

not significant, all of the events must occur. For example, if BP sent the appropriate off-hire

dispatch notification as required by the Charter, the vessel had to wait two weeks to be

decontaminated, and the vessel then took an additional day to return to the point of delivery,

Charter Hire would be owed for an additional 15 days following the off-hire dispatch

notification. This makes sense, because the vessel could not be used for anything else until after

it was finally decontaminated and returned to its home port.

          In a different factual scenario, if the vessel had been through final decontamination,

proceeded back to the original point of delivery to await further instruction from the Charterer,

and then fourteen days later received the required off-hire dispatch notification, Charter Hire

would be owed for an additional fourteen days following the final decontamination. Again, the

vessel would have to be “employed exclusively for Charterer’s use” 24 hours a day during this

period.

          BP counts days on hire as if the Charter Term ended daily with each deployment. As

stated above, this ignores both the contract and the benefits received by BP for vessels on

standby. Plaintiff Hoi Nguyen requests a ruling setting forth the meaning of the termination

provisions of the Charter Term under the Master Vessel Charter Agreement as a matter of law.

          D.     Hire Is Owed Daily From The Beginning To The End Of The Charter Term



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       As explained above, the Master Vessel Charter Agreement is a time charter. BP could

separately negotiate the performance and compensation for special services under Charter Article

10.B.7, but the basic unit of compensation is derived from the length of the vessel and the

number of days in the Charter Term. Article 10. HIRE provides:

       B. CHARTERER shall pay Hire for the VESSEL and the SERVICES to be
       provided by the VESSEL OWNER for each CHARTER TERM in accordance
       with the following provisions….
       1. For a CHARTER TERM during an actual oil spill the rate is (as stated in
       Exhibit "A") a day rate.

[Exhibit 6, Attachment A].

Charter Exhibit “A,” “[a]ttached to and made part of the Master Vessel Charter Agreement”

provides the day rate applicable during the Charter Term. “As full and complete compensation

to VESSEL OWNER for SERVICES satisfactorily performed and for assuming obligations

hereunder, CHARTERER, for and on behalf of OWNERS, will pay VESSEL OWNER on the

basis of the fixed rates (FIXED RATES), set forth below in PARAGRAPH 2.” [Id. (emphasis

supplied).] Charter Agreement Exhibit A, Paragraph 2 sets forth a schedule of day rates. For

vessels like the My Angel II that are greater than 65 feet in length that rate is $3,000 per day. In

addition, Paragraph 2 provides that rate for crew services will be $200 per 8 hour day per crew

member. In the event a 12 hour day was worked the crew member rate was $300 per day.

       Article 12 of the Master Vessel Charter Agreement includes specific provisions detailing

the circumstances in which, because the vessel itself cannot provide services, compensation is

not owed. These circumstances include breakdowns that are not the fault of the Charterer,

collisions, deficiency of crew and stores, refusal to sail, and “any other similar accident or event

whatsoever either hindering or preventing the full working of the VESSEL.” Absent from the

Article 12 list is any intimation that BP could keep a vessel available and at its disposal, but

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suspend payment simply because BP decided not to use the vessel for some period during the

Charter Term, regardless of whether that decision was based on weather conditions, Coast Guard

instructions, delay during information gathering, non-appearance of oil or any other reason.

Article 12’s clear enunciation of reasons for suspending compensation serves to emphasize the

clear requirement that BP must pay compensation daily throughout the Charter Term absent one

of the articulated reasons. In short, BP owes the fixed compensation rate to the vessel owner for

every day following commencement until the termination of the Charter Term.

       The provisions establishing a continuity of hire from commencement at training to

termination after notification and decontamination make sense considering the obligations that

the Vessel Owner undertakes in these charters. The central obligation of the Vessel Owner

during the Charter Term is to be prepared to conduct clean-up operations for BP and to hold the

vessel ready exclusively for BP’s use. Article 2.A provides:

       During each CHARTER TERM, the VESSEL shall be employed exclusively for
       CHARTERER'S use.…The VESSEL shall be available and at CHARTERER's
       disposal for operation twenty-four (24) hours per day. The VESSEL shall not be
       used for any purpose other than performance of SERVICES during the
       CHARTER TERM.

       Again, Article 16, CHARTERER’S USE OF VESSEL, provides:

       During the CHARTER TERM the VESSEL OWNER shall not make any other
       use of the VESSEL without CHARTERER's prior authorization.

       The obligation to hold the vessel available and ready for BP’s exclusive use is real and

valuable consideration. As set out in the Factual Background, the MC252 spill was a huge oil

spill of indeterminate trajectory, and BP was required to contract a fleet of commensurate size to

meet its obligations under Section 311 of the Clean Water Act. BP bargained for, and publicly

touted, the Vessel Owner’s charter obligation to serve in a “fleet of committed responders” with

“assigned equipment” in a “road-ready” capacity. BP could not meet its regulatory mandate to

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provide dedicated vessels without chartering, and paying for, the exclusive use of the private

vessels covered by the Master Vessel Charter Agreement. BP mobilized a fleet of private

citizens and property that were obligated to be ready to jump when BP said so. That sort of

response capacity is not free, as BP well knew when it entered these Charter Agreements. The

Charter obligation to pay for that benefit only ends with the occurrence of the above-described

charter-terminating events.

VI.    APPLICATION OF THE CHARTER TO HOI NGUYEN

       BP clearly violated the terms of the charter with respect to Hoi Nguyen. The following

facts are undisputed, and confirm that BP has not paid Mr. Nguyen for the entire Charter Term.

       Hoi Nguyen is a shrimper and the owner of the fishing vessel My Angel II, home-ported

in Biloxi, Mississippi. [Exhibit 6, Declaration of Hoi Nguyen.] On May 12, 2010 Hoi Nguyen

signed a Master Vessel Charter Agreement with BP Production Company Americas, Inc. for the

hire of the My Angel II. Mr. Nguyen only reads very simple English and the terms of the

agreement were explained in Vietnamese at a meeting at Point Cadet, Biloxi, Mississippi. This

Master Vessel Charter Agreement was assigned the number 58060. [Exhibit 6, attachment A.]

The Agreement was supplied by BP and presented to Hoi Nguyen for signature. Id. ¶ 2.

       Under the terms of the Master Charter Agreement the hire for the My Angel II was $3,000

per day. [Exhibit 6, Attachment A.]

       Under the terms of the Master Charter Agreement the vessel was paid for crew members

at $200 per 8 hour day, and $300 per 12 hour day. [Exhibit 6, Attachments A and C.]

       From the date of signing forward, Hoi Nguyen held the My Angel II prepared and ready

for use by BP. [Exhibit 6 ¶ 3-4.]




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       On or about May 14, 2010, Hoi Nguyen and the members of his crew attended a four

hour safety training class in Biloxi, Mississippi in preparation for undertaking their obligations

under the Master Charter Agreement. The date that the vessel received this training marked the

date that the vessel was in the exclusive service of BP, and started the Charter Term. Following

this class, the My Angel II was at all times in the exclusive service of BP.

       On May 30, 2010, Hoi Nguyen was instructed by BP to depart Biloxi, Mississippi. From

May 31 until mid-July, 2010, the My Angel II was out on the Gulf of Mexico, or was back at the

dock. The My Angel II got instructions over the radio about what to do. Id. ¶ 5.

       In mid-July the My Angel II was in Mobile Bay, and Hoi Nguyen was instructed to “get

your boat cleaned and go home” to Biloxi. En route back to Biloxi he received a gross

decontamination from a barge located near the Dauphin Island Bridge. He did not observe any

Coast Guard personnel present. The area in which the boat was cleaned was not boomed off.

Mr. Nguyen did not receive a certificate or other document. In fact, oil remained on the vessel

and its lines following this gross decontamination. Id. ¶ 6.

       About July 18, 2010, My Angel II returned to Biloxi, Mississippi. Mr. Nguyen was

apparently given a document to sign which is titled “Off-hire Deactivation Check Sheet.” This

document was filled out by someone other than Mr. Nguyen. Mr. Nguyen confirms that his

signature appears on this document, but does not recall the document or how it was provided.

Mr. Nguyen can read only limited English. Id. ¶ 7.

       After July 20 the My Angel II remained in Biloxi. Pursuant to the terms of the Master

Charter Agreement, Hoi Nguyen did not use the My Angel II or hire her to any third party, but

held the vessel in readiness for the exclusive use of BP. Mr. Nguyen continued to send invoices

under the Charter Agreement. Id. ¶ 8.



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        Mr. Nguyen did not receive any further instructions as to the disposition of My Angel II

or its operations under the Master Charter Agreement until he received a letter at the address

stated in the Charter Agreement which stated that it was “Off Hire Dispatch Notification” and

the charter was terminated as of August 27, 2010 “pursuant to the terms of the Master Charter

Agreement.” Id. ¶ 9, attachment D. The notice further instructed Mr. Nguyen that “if you have

not had your vessel properly decontaminated and an off-hire survey performed please

immediately contact your local Vessel of Opportunity Coordinator to schedule your off-hire

survey and decontamination as soon as possible.”

        Shortly after the Off Hire Dispatch Notification was received, Hoi Nguyen was informed

that the My Angel II was on a list at the Point Cadet Marina in Biloxi for decontamination in

Bayou La Batre, Alabama on September 16, 2010. Capt. Nguyen called a person he knew to be

working with BP and confirmed that the My Angel II was scheduled for final decontamination on

that date. Id. ¶ 9.

        On September 16, 2010, the My Angel II was decontaminated in Bayou La Batre and

received a Verification of Final Decontamination from the United States Coast Guard. Id. ¶ 9,

Attachment E. At the time of this final decontamination he was instructed to take the lines that

had oil on them off the boat, bag them and dispose of them. Id. ¶ 9.

        On September 17, 2010, the My Angel II returned to Biloxi and was safely moored. Id. ¶

9.

        A few days later somebody apparently connected with the VOO program called Mr.

Nguyen and instructed him to send an invoice for ten days. However, Mr. Nguyen had already

sent invoices for his time per the terms of the Charter Agreement. Id. ¶ 10.




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       As set out above, the “date of the departure of the Vessel . . . into the service of the

Charterer” is the date when the owner “delivers or otherwise makes available” the vessel and

places the vessel at BP’s “disposal.” With respect to Mr. Nguyen and the My Angel II, this date

was May 14, 2010, when the vessel and crew received their training. Mr. Nguyen was paid the

charter hire for one day for the training that the vessel and crew received, and for the period of

May 31, 2010 through July 20, 2010. This payment for the training and daily hire totaled

$208,340. Id. ¶ 11. However, Mr. Nguyen was not paid charter hire for the period May 15

through May 30, 2010.

       The Charter Term ended on September 17, 2010, because that was the date on which the

My Angel II had (1) received “Off-Hire Dispatch Notification,” (2) received final

decontamination, and (3) was secure at its moorings in Biloxi, Mississippi following the final

decontamination. In October 2010, BP paid Mr. Nguyen an additional $34,200. This amount is

equal to 9 days of the vessel hire rate with four crew members working an 8 hour day. In March

2011, BP paid Mr. Nguyen another $7,600. This was equal to two days of the vessel hire rate

with four crew members working an 8 hour day. In other words, for the period from July 21

through September 17, Mr. Nguyen was paid the agreed upon charter hire for only 11 days,

rather than the 58 days in this period.

       Thus, Mr. Nguyen was not paid charter hire for two periods when the My Angel II was

within the Charter Term as defined by the BP Charter Agreement. These periods were May 15-

30, 2010, and 47 of the 58 days in the period July 21 through September 17, 2010, for a total of




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61 days. Under Article 10 the “VESSEL OWNER shall be compensated at the end of the

CHARTER TERM.” 6


        Based on its behavior, BP apparently considered July 20, 2010 the Charter Term’s end

date; after all, the company paid Mr. Nguyen through July 20. However, it is clear that the My

Angel II did not receive final decontamination at this point, nor did it receive any off-hire

dispatch notification per the terms of the BP Charter Agreement. Final decontamination – as

clearly documented by the Verification of Final Decontamination - did not occur until September

16, 2010. This was the point at which the Coast Guard certified the final decontamination, and

the oiled equipment was removed from the vessel for disposal per the terms of BP’s

decontamination protocol. Oiled lines and other equipment were left on the vessel after the

interim decontamination in July. [Exhibit 6 ¶ 6.]

        BP may argue that the “Off-hire Deactivation Check Sheet” constitutes proof that the

Charter Term ended on or before July 20, since in the blank for “Off hire date” that form

contains the date “7-19-10.” In addition, the word “yes” is circled on the form next to the phrase

“please confirm decontamination procedure was completed.” However, this form cannot

overcome the clear language of the contract, which was drafted by BP, regarding the start and

finish of the Charter Term. It is undisputed that final decontamination occurred on September

16, 2010, and BP is liable under the contract for payments through that date.

        In short, Mr. Nguyen was owed charter hire for each day from the beginning of the

Charter Term to the end. In addition, a vessel owner who was not paid timely under the terms of

a charter agreement is owed reasonable interest on the amounts owed from the date that the

6
 If the vessel term is longer than 14 days, the vessel owner has the option of invoicing every two weeks rather than
waiting for the end of the charter term. Many owners took advantage of the invoicing option at times throughout the
charter term, but it did not change the requirement that compensation shall be paid at the end of the charter term.


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payment was due. Corpus Christi Oil & Gas Co. v. Zapata Gulf Marine Corp., 71 F.3d 198, 204

(5th Cir.1995); City of Milwaukee v. Cement Div., Nat'l Gypsum Co., 515 U.S. 189, 195 (1995).

Capt. Nguyen is owed interest until paid.

VII.   CONCLUSION

       Plaintiff Hoi Nguyen, and many others in his situation, continue to suffer from BP’s

refusal to honor the clear terms of its own Master Vessel Charter Agreement. Under the

unambiguous terms of the Master Charter, the Charter Term ended with return to moorings, a

written notice and decontamination. The Court should find BP liable to pay its dedicated "vessel

of opportunity" fleet the daily rate for the entirety of the Charter Term. Reserving all rights to

claim damages and compensation for recovery of removal costs under OPA90 and the Clean

Water Act, Section 311(b)(10) incurred by "vessel of opportunity" plaintiffs, the Plaintiffs

Steering Committee requests that the Court provide finality on the three contractual issues

posited herein.


       This 15th day of September, 2011.


Respectfully submitted,



   /s/ Stephen J. Herman                         /s/ James Parkerson Roy_____________
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        WE HEREBY CERTIFY that the above and foregoing Memorandum will be filed into the
record using the Clerk’s ECF electronic filing system, and will be served on All Counsel by
electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order
No. 12, this 15th day of September, 2011.
                                               /s/ Stephen J. Herman and James Parkerson Roy




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